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                       IN THE UNITED STATES DISTRICT COURT
                           OF THE DISTRICT OF COLUMBIA

BUZZFEED INC.,                                     )
111 East 18th Street, 13th Floor                   )
New York, NY 10010                                 )
                                                   )
       Plaintiff,                                  )
                                                   )
       v.                                          )
                                                   )
U.S. DEPARTMENT OF HEALTH AND                      )
HUMAN SERVICES,                                    )
200 Independence Ave., S.W.                        )
Washington, D.C. 20201                             )
                                                   )
NATIONAL INSTITUTES OF HEALTH,                     )
9000 Rockville Pike                                )
Bethesda, MD 20892                                 )
                                                   )
       Defendants.                                 )

                                          COMPLAINT

       1.      Plaintiff BUZZFEED INC., brings this Freedom of Information Act suit to force

Defendants U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES (“HHS”) and its

component NATIONAL INSTITUTES OF HEALTH (“NIH”) to produce records pertaining to

the use of “humanized” mice in a COVID-19 research project.

                                           PARTIES

       2.      Plaintiff BUZZFEED INC., is a media organization with its principal place of

business in New York, NY, and offices in Los Angeles, CA, and elsewhere. BUZZFEED made

the FOIA request at issue in this case.

       3.      Defendant DEPARTMENT OF HEALTH AND HUMAN SERVICES (“HHS”) is

a federal agency subject to the Freedom of Information Act, 5 U.S.C. § 552.

       4.      Defendant NATIONAL INSTITUTES OF HEALTH (“NIH”) is a component of

HHS, a federal agency, and subject to the Freedom of Information Act, 5 U.S.C. § 552.
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                               JURISDICTION AND VENUE

       5.     This case is brought under 5 U.S.C. § 552(a)(4)(B) and presents a federal question

conferring jurisdiction on this Court. See 28 U.S.C. § 1331.

       6.     Venue is proper under 5 U.S.C. § 552(a)(4)(B).

                             MARCH 24, 2020 FOIA REQUEST

       7.     On March 24, 2020, BUZZFEED submitted a FOIA request to NIH for the

following records:

       Access to and copies of all communications, memos, or other records, including instant
       messages, to and from both Kim J. Hasenkrug, Ph.D., and Ken Pekoc of the NIAID /
       RML facility from December 31, 2019 to the present date, March 24, 2020, regarding:
       the use of “humanized” mice in Dr. Hasenkrug’s lab to research the novel coronavirus
       reported by China to the WHO on the first day of this request, first called 2019 novel
       coronavirus (2019-nCoV) and later SARS-CoV-2 by WHO. Any requests from news
       outlets for comment on his lab’s research in connection with the novel coronavirus, and
       responses involving these requests.

Exhibit A.

       8.     On April 6, 2020, BUZZFEED amended the scope of the request and sought

“copies of all communications, memos, or other records, including instant messages, to and from

both Kim J. Hasenkrug, Ph.D., and Ken Pekoc of the NIAID / RML facility from December 31,

2019 to the present date, April 6, 2020, regarding any requests from news outlets for comment on

his lab’s research in connection with the novel coronavirus, and responses involving these

requests.” Exhibit B.

       9.     Upon information and belief, NIH researcher Kim Hasenkrug was blocked by NIH

from conducting COVID-19 research on mice transplanted by human fetal tissue.

       10.    Because of the public interest in timely release of this information, BUZZFEED

requested expedited processing of the request. Exhibit A and B.




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       11.     On April 6, 2020, Defendants acknowledged receipt of the original and amended

request, assigned reference number 53794 to the matter, and granted expedited processing. Exhibit

C.

       12.     After a series of communications and requests by BUZZFEED for an estimated

completion date, NIH informed BUZZFEED on August 18, 2020, that there was “one more

stakeholder” who needed to “review the entire collection” and promised to provide a final response

after that review was completed. Exhibit D at 3.

       13.     In response to BUZZFEED’s request for a status update, Defendants stated the

following on October 7, 2020: “The stakeholder has not yet responded to our consultation. I’m

not aware of their workflow and cannot tell when they will reply. However, I have emailed them

again to try and prompt their response.” Exhibit D at 2.

       14.     On October 12, 2020, BUZZFEED asked for another status update and expressed

its intention to file suit in the near future if Defendants do not issue a determination by October

19, 2020. Exhibit D at 2.

       15.     On October 13, 2020, Defendants merely repeated its previous statement: “We are

still pending to receive a response from HHS to our consultation. When that happens, the entire

collection of records requires review from another stakeholder. Once that is completed, we will

then be able to provide you with a final response.” Exhibit D at 1.

       16.     As of the date of this filing, Defendants have not issued a determination and have

not produced any records. Nor have Defendants complied with the statutory requirement under 5

U.S.C. § 552(a)(7)(B)(ii) to furnish an estimated completion date when requested.

                      COUNT I – DEFENDANTS’ FOIA VIOLATION

       17.      The above paragraphs are incorporated herein.

       18.      HHS and NIH are federal agencies, subject to FOIA.


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      19.      The requested records are not exempt under FOIA.

      20.      HHS and NIH have not complied with FOIA.

WHEREFORE, BUZZFEED asks the Court to:

      i.      declare that Defendants have violated FOIA;

      ii.     order Defendants to conduct a reasonable search for records and to produce the

              requested records promptly;

      iii.    enjoin Defendants from withholding non-exempt public records under FOIA;

      iv.     award BUZZFEED INC., attorneys’ fees and costs; and

      v.      award such other relief the Court considers appropriate.


Dated: October 19, 2020


                                                   RESPECTFULLY SUBMITTED,

                                                   /s/ Matthew V. Topic

                                                   Attorney for Plaintiff
                                                   BUZZFEED

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